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                                UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF TENNESSEE
                                     NASHVILLE DIVISION

UNITED STATES OF AMERICA                              )
                                                      )       Case No. 3:13-cr-00090-8
Vs.                                                   )
                                                      )       Judge Kevin H. Sharp
YONI LINARES-AGUILAR                                  )
                                                      )



           DEFENDANT YONI LINARES-AGUILAR’S MOTION TO INCLUDE A
                RECOMMENDATION FOR SERVICE OF SENTENCE

         Comes now the Defendant, Yoni Linares-Aguilar, by and through his undersigned

counsel, Bob Lynch, Jr., and hereby moves this Court to include in the judgment a

recommendation to the Bureau of Prisons that the Defendant be designated to a correctional

institution as near as possible to Nashville, Tennessee.

         In support of this motion, the Defendant would show the Court the following:

      1. After the sentencing, the Defendant’s fiancé reminded Defendant’s counsel that the

         Defendant desired to serve his sentence in a facility nearest to Nashville, Tennessee.

      2. Undersigned counsel had discussed this matter with the Defendant earlier but failed to

         make the request at the Defendant’s sentencing hearing. When undersigned counsel

         discussed this matter with the Defendant, he fully informed him that the Court could only

         make a recommendation and that it was solely the decision of the Bureau of Prisons

         where Defendant would serve his sentence. Thus, the Defendant is aware that this Court

         can only recommend a designation, not order it.

      3. Undersigned counsel has discussed this matter with AUSA Hester, and he has authorized

         undersigned counsel to state to the Court that he does not oppose this recommendation.




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